                                       L A W    O F F I C E S
                                    J A S O N   D .   B A L T Z
                        1 2 9 2 4    C O B B L E S T O N E      C O U R T
                        M E Q U O N ,      W I S C O N S I N      5 3 0 9 7
                                                                                             TEL: (414) 963-2194
                                                                                             FAX: (414) 963-2196
                                                                                E-MAIL: baltzlawoffices@aol.com


                                          June 3, 2021

VIA ELECTRONIC FILING

The United States Courthouse
Attn: The Honorable Brett H. Ludwig
Room 271
517 E. Wisconsin Ave
Milwaukee WI 53202

Re:    United States v. Steven R. Brandenburg
       Docket Number: 0757 2:21CR00025-001

Dear Judge Ludwig:

After further consideration, counsel for the defendant withdraws the
objections/clarifications requested to paragraphs 16, 18, and 19.

Should you have any questions, please do not hesitate to contact this office.

                                                  Very Truly Yours,

                                                  /electronically signed/
                                                  Jason D. Baltz

Cc:    United States Attorney’s Office
       Mr. Steven R. Brandenburg




      Case 2:21-cr-00025-BHL Filed 06/03/21 Page 1 of 1 Document 24
